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U.S. Department of justice
United States Attorney

                                                                                  a n~          71~a~    a       77g)1E

                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA                        FEB
                                                                                        Jarnes P~td.F ~ . ,;. ~      rk
                                                                                  ~rt

  UNITED STATES OF AMERICA                                          Indictment/ Information             tl
                                                                                                             I
                                                                                                                 ty Jerk

 V.
  Lohrab "Jeff" Jafari                                   UNDER SEAL,




    The Clerk is hereby directed to issue a warrant for arrest, certified copy (copies) of indictment
attached, returnable instanter, in the above-state7sS


                                                             einh
                                                           tant Un ed States Attorney


Filed In Clerk's Office, this                   day of       1 20


                                    Clerk




                                 Deputy Clerk


                                                                                              Form No. USA-19-8
                                                                                                 (Rev.08/06/87)
                                                                                               N.D.Ga.08/26/94
